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  Exhibit IV
  Exoo-Wolkind Tweets

  Incorporated by reference in FASC ¶¶ at 5, 96, 97, 98, 99




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